                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA    )
                            ) EDTN Arresting Dist No. 1:20-mj-143-SKL
     v.                     ) Middle Dist. Florida – Tampa Div.
                            ) Charging Dist. No. 8:00-cr-281-T-17MAP
                            )
MITCHELL MATTHEW MONTEVERDI )
                            )

                                MEMORANDUM AND ORDER

       The defendant appeared for a hearing before the undersigned on September 22, 2020, in
accordance with Rules 5 and 32.1 of the Federal Rules of Criminal Procedure for an initial
appearance of the defendant on an arrest warrant and Petition for Warrant for Offender Under
Supervision out of the U.S. District Court, Middle District of Florida, Tampa Division. Those
present for the hearing included:

               (1)     AUSA Joe DeGaetano for the USA.
               (2)     The defendant, MITCHELL MATTHEW MONTEVERDI.
               (3)     Attorney Damon Burk with Federal Defender Services of
                       Eastern Tennessee as appointed counsel for defendant.

        After being sworn in due form of law, the defendant was informed or reminded of his
privilege against self-incrimination accorded him under the 5th Amendment to the United States
Constitution. Federal Defender Services of Eastern Tennessee was present as court appointed
counsel in the arresting district.

       The defendant had been provided with a copy of the arrest warrant and Petition and had
the opportunity of reviewing those documents with his attorney. It was determined defendant
was capable of being able to read and understand the documents.

         The AUSA moved that defendant be detained without bail pending a detention hearing in
the U.S. District Court, Middle District of Florida, Tampa Division. Defendant admitted he is
the person named in the Petition and waived his right to a preliminary hearing in this district, but
requested a detention hearing and time to prepare for said hearing. Defendant was temporarily
detained until his detention hearing, which was scheduled to take place on October 2, 2020 [Doc.
8]. Prior to the hearing, counsel for Defendant filed a notice of waiver of detention hearing in this
district [Doc. 9] stating that Defendant wished to cancel the detention hearing set for October 2 in
this district and thus reserves his right to a detention hearing in the charging district with any
further proceedings be held in the U.S. District Court, Middle District of Florida, Tampa Division.




 Case 1:20-mj-00143-SKL Document 13 Filed 10/02/20 Page 1 of 2 PageID #: 17
    It is ORDERED:

    (1) Defendant shall be TEMPORARILY DETAINED pending his transfer to the
    U.S. District Court, Middle District of Florida, Tampa Division as set forth in the
    Order of Temporary Detention Pending Hearing Pursuant to Bail Reform Act.

    (2) The U.S. Marshals Service shall transport defendant to the U.S. District Court,
    Middle District of Florida, Tampa Division for a hearing on a date to be determined
    once defendant is in said district.

    ENTER.

                                         s/  Susan K. Lee
                                         SUSAN K. LEE
                                         UNITED STATES MAGISTRATE JUDGE




Case 1:20-mj-00143-SKL Document 13 Filed 10/02/20 Page 2 of 2 PageID #: 18
